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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:07CR125
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )                    ORDER
                                             )
CHI’DAE SEVILLE GORDON,                      )
                                             )
              Defendant.                     )

       This matter is before the Court on the Defendant’s unopposed motion to continue

sentencing (Filing No. 49) because of the amendments to the U.S. Sentencing Guidelines

due to take effect on November 1, 2007.

       The motion is denied. However, the Court advises counsel that the issue relating

to the guideline amendments will be discussed at sentencing in the context of a motion for

downward departure or deviation.

       IT IS ORDERED that the Defendant’s unopposed motion to continue sentencing

(Filing No. 49) is denied.

       DATED this 14th day of August, 2007.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
